Case 1:21-cv-01456-MN Document 136-1 Filed 08/03/22 Page 1 of 3 PageID #: 6581




 Issue                            The Parties’ Positions
 Entry of a schedule              Plaintiff believes entry of a schedule is appropriate at this time, and
                                  that, particularly given Mr. Hennenhoefer’s medical condition, it is
                                  urgent that the parties move quickly.

                                  Defendants agree that the case should move forward, but do not
                                  believe a schedule can issue in advance of the Court’s ruling on the
                                  stockholders’ motions to intervene (D.I. 34, 100). While Defendants
                                  continue to believe the motions should be denied, their grant would
                                  require a different schedule because additional pleadings and
                                  discovery would occur, and additional issues would be before the
                                  Court.



 Bifurcation                      Plaintiff asks that the schedule be bifurcated, with discovery taken
                                  prior to August 26, 2022 limited to discovery “relating to the validity
                                  of the Advisory Services Agreement” (the “ASA”) in order to facilitate
                                  what Plaintiff anticipates will be an early summary judgment motion
                                  on that topic.

                                  Defendants oppose bifurcating or limiting discovery. Both ChanBond
                                  and Leane Defendants have already produced all documents they
                                  have relating to this issue, having conducted extensive discovery
                                  regarding the ASA in the Texas arbitration. CBV has been in
                                  possession of those documents since late March. There is no reason
                                  to limit Defendants’ discovery of CBV, or of each other.

                                  Moreover, Defendants oppose CBV’s proposal that Defendants’
                                  principals – Ms. Leane and Mr. Carter – be required to travel to
                                  Delaware for two separate depositions (once on the validity of the
                                  ASA, and a second time on whatever other issues CBV is interested in
                                  inquiring of them about). There is no reason CBV cannot take
                                  fulsome depositions on all topics, having received Defendants’
                                  extensive document productions. Similarly, there is no reason to
                                  require Defendants to limit their questioning of Mr. Hennenhoefer,
                                  Mr. Stine, and Mr. Snyder to issues relating to the ASA, and then
                                  depose them a second time on other issues (particularly given CBV’s
                                  representation that Mr. Hennenhoefer will be unavailable for a year
                                  or longer).

                                  Defendants have no objection to CBV making an early summary
                                  judgment motion regarding the ASA, while discovery is ongoing as to
                                  other matters. But there is no need to bifurcate discovery in order to
                                  enable it

 Limits on Discovery Devices in   Plaintiff proposes that if discovery is bifurcated, each party be
 the Event of Bifurcation         limited to five interrogatories, five requests for admission, and 10
Case 1:21-cv-01456-MN Document 136-1 Filed 08/03/22 Page 2 of 3 PageID #: 6582




 Issue                     The Parties’ Positions
                           hours of depositions in the ASA phase of the case, and 20
                           interrogatories and 24 hours of post-ASA depositions .

                           Defendants propose 35 hours of total deposition time – which is the
                           limit that all parties agreed to when they submitted a proposed
                           schedule for the Court’s consideration on March 16, 2022 (D.I. 24) –
                           and agree to overall limits of 20 interrogatories and requests for
                           admission. But if the Court bifurcates discovery, it should not
                           artificially limit how Defendants elect to allocate their deposition
                           time, interrogatories, and requests for admission. For instance,
                           Leane Defendants would expect to depose each of CBV’s three
                           principals (Mr. Hennenhoefer, Mr. Stine, and Mr. Snyder) with
                           respect to issues relating to the ASA, and may wish to devote more
                           than 10 total hours to such depositions. And Defendants may wish to
                           serve more than five total interrogatories and requests for admission
                           on each other and CBV in connection with the ASA. There is no
                           reason for the Court to set artificial limits on how the parties allocate
                           their discovery resources by issue, and CBV’s attempt to restrict
                           Defendants’ ability to conduct discovery on the purported ASA issue
                           is inappropriate and unjustified.

 Discovery Cut-off         Plaintiff proposes that all discovery in the case be complete on or
                           before January 20, 2023.

                           Defendants propose a discovery cutoff of November 21, 2022. Given
                           that all defendants have already substantially completed their
                           document production, and that Plaintiff has had nearly a year to
                           collect its documents in anticipation of discovery requests (which
                           Leane Defendants intend to serve promptly upon entry of a
                           scheduling order) there is no reason for a discovery period longer
                           than 3-4 months. The remaining dates proposed by CBV (for
                           identification of experts, expert discovery, dispositive motions, and
                           trial) should be adjusted accordingly
Case 1:21-cv-01456-MN Document 136-1 Filed 08/03/22 Page 3 of 3 PageID #: 6583




 Issue                      The Parties’ Positions
 Expert Discovery Period    Plaintiff proposes that opening expert reports be due 20 days after
                            the completion of discovery, rebuttal reports 30 days thereafter, and
                            reply reports 21 days from the service of rebuttal reports. Plaintiff
                            further proposes that expert discovery be completed 60 days after
                            service of the reply reports.

                            Defendants propose that the parties retain the schedule they
                            already agreed to in the proposed schedule submitted on March 16,
                            2022 (D.I. 24): Opening reports due 30 days after the close of fact
                            discovery; rebuttal reports due 30 days thereafter; reply reports due
                            14 days thereafter, and expert discovery complete by 45 days after
                            service of reply reports.


 Case Dispositive Motions   Plaintiff proposes that case dispositive motions not directed to the
                            ASA be due 60 days after the completion of expert discovery.

                            Defendants propose that the parties retain the schedule they
                            already agreed to in the proposed schedule submitted on March 16,
                            2022 (D.I. 24): case dispositive motions to be filed 30 days after the
                            close of fact discovery.


 Trial                      Plaintiff proposes trial be scheduled in November 2023.

                            Defendants propose trial be scheduled in May 2023.
